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NOTICE OF APPEARANCE IN A CRIMINAL CASE



                                   CLERK’S OFFICE
                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
                               WASHINGTON, D.C. 20001


UNITED STATES OF AMERICA


        vs.                                          Criminal Number        23-CR-35

TROY WEEKS
            (Defendant)




TO:      ANGELA CAESAR, CLERK

YOU ARE HEREBY NOTIFIED THAT I APPEAR FOR THE DEFENDANT INDICATED
ABOVE IN THE ENTITLED ACTION.


I AM APPEARING IN THIS ACTION AS:              (Please check one)


 9       CJA                9■     RETAINED            9     FEDERAL PUBLIC DEFENDER


                                                    /s/ James C. Knox
                                                                  (Signature)



                                           PLEASE PRINT THE FOLLOWING INFORMATION:


                                          James C. Knox (517109)
                                                          (Attorney & Bar ID Number)
                                          E. Stewart Jones Hacker Murphy, LLP
                                                                 (Firm Name)

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                                                                (Street Address)

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